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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                         Case No.: 1:21-CV-22599-MGC
 CHRISTINA AVILA,

        Plaintiff,

 v.

 PORTFOLIO RECOVERY ASSOCIATES,
 LLC,

       Defendant.
 _______________________________________/

                                 NOTICE OF PENDING SETTLEMENT

        Plaintiff Christina Avila, by and through undersigned counsel, hereby submits this Notice

 of Pending Settlement and states the parties have reached a settlement with regard to this case and

 are presently drafting, finalizing, and executing the formal settlement documents. Upon full

 execution of the same, the parties will file the appropriate dismissal documents with the Court.

        Dated: August 3, 2021
                                                               Respectfully Submitted,

                                                                /s/ Thomas J. Patti                                     .
                                                               THOMAS J. PATTI, ESQ.
                                                               Florida Bar No.: 118377
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                                                               COUNSEL FOR PLAINTIFF




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                                       CERTIFICATE OF SERVICE

        The undersigned certifies that on August 3, 2021, the forgoing was electronically via the

 Court’s CM/ECF system on all counsel of record.

                                                               /s/ Thomas Patti                                       .
                                                              THOMAS J. PATTI, ESQ.
                                                              Florida Bar No.: 118377




                                                                                                                PAGE | 2 of 2
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